Case 1:02-cv-O4331-ERK-ASC Document 40 Filed 01/14/05

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Hon. Edward R_ Korman

Chiet` United States District Iudge
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January 14, 2005

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16015-100

Re: Branch Bank & Trust Co. v. Interamerican Mortgage Corp.,
CV 02-4331 {ERK) (ASC)

Dear Chiet` Judge Korman:

This finn represents the plaintiff in the above-referenced action. In accordance with my
telephone conversation last week With Your Honor’s law clerk, I am filing herewith a proposed
Judgment along with the Bil] of Costs and supporting documentation We thank Your Honor for
your time and attention to this matter.

EWP:me

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cc: Andrew Curto, Esq. (by facsimile)

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ric W. Penzer

